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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                          LAFAYETTE DIVISION

PURE AIR DAIGLE, LLC, ET AL.                 CIVIL ACTION NO. 6:16-cv-01322

VERSUS                                       MAGISTRATE JUDGE HANNA

CHARLES STAGG, II, ET AL.                    BY CONSENT OF THE PARTIES

                          MEMORANDUM RULING

      Currently pending is the plaintiffs’ motion for partial summary judgment with

regard to their claim against defendants Charles Stagg, II, Michael Scott Lanclos,

Phillip Courville, Jr., and Brad Guidry for breach of fiduciary duty. (Rec. Doc. 65).

The motion is opposed. Considering the evidence, the law, and the arguments of the

parties, and for the reasons fully explained below, the motion is DENIED.

                                  BACKGROUND

      Defendants Stagg, Lanclos, Courville, and Guidry (“the Employee

Defendants”) were all formerly employed by Daigle Welding Supply. The plaintiffs

are the successors of that company. Defendant Capitol Welders Supply Co. Inc. was

a long-time supplier of the plaintiffs. In 2016, Capitol formed defendant St. Landry

Gas & Supply, L.L.C., which is a competitor of the plaintiffs. The Employee

Defendants left their employment with the plaintiffs and all of them went to work for

St. Landry Gas.
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      In their complaint, the plaintiffs asserted claims against the defendants for

breach of contract, violation of the Louisiana Unfair Trade Practices and Consumer

Protection Law, breach of fiduciary duties, conversion, conspiracy, tortious

interference with contractual relationships, and tortious interference with business

relationships.

      The instant motion relates solely to the plaintiffs’ breach of fiduciary duty

claim against the Employee Defendants. In the complaint, the plaintiffs contend that

the Employee Defendants breached the fiduciary duties that they owed to the

plaintiffs when they disclosed the plaintiffs’ confidential and proprietary information,

including customer and supplier lists, delivery schedules, and customer requires

during their employment with the plaintiffs. (Rec. Doc. 1 at 15). In the briefing, the

plaintiffs expanded the scope of the breach of fiduciary duty claim, arguing (1) that

Stagg breached his fiduciary duty to the plaintiffs by seeking to benefit himself and

St. Landry Gas and by transacting St. Landry Gas’s business while Stagg remained

employed by the plaintiffs, (2) that Stagg breached his fiduciary duty to the plaintiffs

by knowingly involving himself in an undisclosed conflict of interest while employed

by the plaintiffs, (3) that Lanclos, Courville, Guidry, and Stagg breached their

fiduciary duties to the plaintiffs while still employed by the plaintiffs by encouraging

each other and others to take actions that injured the plaintiffs; (4) that Stagg

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breached his fiduciary duty to the plaintiffs by lying to his superiors and by

concealing information from them, and (5) that St. Landry Gas is vicariously liable

for the Employee Defendants’ breaches of fiduciary duty.

                                     LAW AND ANALYSIS

A.     THE APPLICABLE SUMMARY JUDGMENT STANDARD

       Under Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment

is appropriate when there is no genuine dispute as to any material fact, and the

moving party is entitled to judgment as a matter of law. A fact is material if proof of

its existence or nonexistence might affect the outcome of the lawsuit under the

applicable governing law.1 A genuine issue of material fact exists if a reasonable jury

could render a verdict for the nonmoving party.2

       The party seeking summary judgment has the initial responsibility of informing

the court of the basis for its motion and identifying those parts of the record that

demonstrate the absence of genuine issues of material fact.3 If the moving party



       1
                 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); Sossamon v. Lone Star
State of Tex., 560 F.3d 316, 326 (5th Cir. 2009); Hamilton v. Segue Software, Inc., 232 F.3d 473, 477
(5th Cir. 2000).
       2
               Brumfield v. Hollins, 551 F.3d 322, 326 (5th Cir. 2008) (citing Anderson v. Liberty
Lobby, Inc., 477 U.S. at 252); Hamilton v. Segue Software, Inc., 232 F.3d at 477.
       3
               Washburn v. Harvey, 504 F.3d 505, 508 (5th Cir. 2007) (citing Celotex Corp. v.
Catrett, 477 U.S. 317, 323 (1986)).

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carries its initial burden, the burden shifts to the nonmoving party to demonstrate the

existence of a genuine issue of a material fact.4 All facts and inferences are construed

in the light most favorable to the nonmoving party.5

       If the dispositive issue is one on which the nonmoving party will bear the

burden of proof at trial, the moving party may satisfy its burden by pointing out that

there is insufficient proof concerning an essential element of the nonmoving party's

claim.6 The motion should be granted if the nonmoving party cannot produce

evidence to support an essential element of its claim.7

B.     THE APPLICABLE LAW

       A federal court sitting in diversity must apply state substantive law and federal

procedural law.8 Because this is a diversity case, Louisiana’s substantive law must

be applied.9 To determine Louisiana law, federal courts look to the final decisions



       4
               Washburn v. Harvey, 504 F.3d at 508.
       5
              Brumfield v. Hollins, 551 F.3d at 326 (citing Matsushita Elec. Indus. Co. v. Zenith
Radio, 475 U.S. 574, 587 (1986)).
       6
               Norwegian Bulk Transport A/S v. International Marine Terminals Partnership, 520
F.3d 409, 412 (5th Cir. 2008) (citing Celotex Corp. v. Catrett, 477 U.S. at 325).
       7
               Condrey v. Suntrust Bank of Ga., 431 F.3d 191, 197 (5th Cir. 2005).
       8
               Erie R. R. Co. v. Tompkins, 304 U.S. 64, 78 (1938); Gasperini v. Ctr. for Humanities,
Inc., 518 U.S. 415, 427 (1996); Coury v. Moss, 529 F.3d 579, 584 (5th Cir. 2008).
       9
               See, e.g., Moore v. State Farm Fire & Cas. Co., 556 F.3d 264, 269 (5th Cir. 2009).

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of the Louisiana Supreme Court.10 When the state's highest court has not decided an

issue, the court must make an “Erie guess” as to how the state supreme court would

decide the issue.11 In making such a guess, the federal court may rely upon state

appellate court decisions, unless persuasive data convinces the court that the state

supreme court would decide the issue differently.12 When making an Erie guess

concerning Louisiana law, the Fifth Circuit In making an Erie guess, relies upon “(1)

decisions of the [Louisiana] Supreme Court in analogous cases, (2) the rationales and

analyses underlying [Louisiana] Supreme Court decisions on related issues, (3) dicta

by the [Louisiana] Supreme Court, (4) lower state court decisions, (5) the general rule

on the question, (6) the rulings of courts of other states to which [Louisiana] courts

look when formulating substantive law and (7) other available sources, such as

treatises and legal commentaries.”13




       10
               Moore v. State Farm Fire & Casualty Co., 556 F.3d at 269.
       11
               Temple v. McCall, 720 F.3d 301, 307 (5th Cir. 2013); Moore v. State Farm Fire &
Casualty Co., 556 F.3d at 269.
       12
              Guilbeau v. Hess Corporation, 854 F.3d 310, 311-12 (5th Cir. 2017); Temple v.
McCall, 720 F.3d at 307; Mem'l Hermann Healthcare Sys., Inc. v. Eurocopter Deutschland, GMBH,
524 F.3d 676, 678 (5th Cir. 2008).
       13
               Gulf and Mississippi River Transp. Co., Ltd. v. BP Oil Pipeline Co., 730 F.3d 484,
488–89 (5th Cir. 2013) (quoting Am. Int'l Specialty Lines Ins. Co. v. Rentech Steel, L.L.C., 620 F.3d
558, 564 (5th Cir. 2010) (quoting Hodges v. Mack Trucks, Inc., 474 F.3d 188, 199 (5th Cir. 2006))).

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C.     BREACH OF FIDUCIARY DUTIES

       The elements of a claim for breach of fiduciary duty under Louisiana law

include: (1) the existence of a fiduciary duty, (2) a violation of that duty by the

fiduciary, and (3) damages resulting from the violation of duty.14 “[W]hether a

fiduciary duty exists, and the extent of that duty, depends upon the facts and

circumstances of the case and the relationship of the parties.”15             Employees and

mandataries owe duties of fidelity and loyalty to their employers and principals.16

“An employee owes his employer a duty to be loyal and faithful to the employer's

interest in business.”17 An employee is duty-bound not to act in antagonism or

opposition to the interest of his employer.18




       14
               U.S. Small Business Admin. v. Beaulieu, 75 Fed. App’x 249, 252 (5th Cir. 2003)
(citing Brockman v. Salt Lake Farm Partnership, 33,938 (La. App. 2 Cir. 10/04/00), 768 So.2d 836,
844, writ denied, 2000-C-3012 (La. 12/15/00), 777 So. 2d 1234)); Omnitech International, Inc. v.
The Clorox Co., 11 F.3d 1316, 1330 and n. 20 (5th Cir.), cert. denied, 513 U.S. 815 (1994)
       15
              Scheffler v. Adams and Reese, LLP, 2006–1774 (La. 02/22/07); 950 So.2d 641, 647.
       16
              Texana Oil & Refining Co. v. Belchic, 90 So. at 527; Neal v. Daniels, 47 So.2d 44,
45 (1950); Harrison v. CD Consulting, Inc., 05-1087 (La. App. 1 Cir. 05/05/06), 934 So.2d 166,
170; Cenla Physical Therapy & Rehabilitation Agency, Inc. v. Lavergne, 657 So.2d at 177; Odeco
Oil & Gas Co. v. Nunez, 532 So.2d at 462.
       17
              ODECO Oil & Gas Co. v. Nunez, 532 So.2d at 463 (quoting Dufau v. Creole
Engineering, Inc., 465 So.2d 752, 758 (La. App. 5 Cir.), writ denied, 468 So.2d 1207 (La. 1985)).
       18
               Neal v. Daniels, 47 So.2d at 45 (quoting Texana Oil & Refining Co. v. Belchic, 90
So. at 527; Harrison v. CD Consulting, Inc., 934 So.2d at 170.

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       Louisiana courts have determined that, under circumstances where an employee

solicited customers and copied confidential customer lists of his employer while still

employed, a breach of fiduciary duty may be found.19 However,

       [w]ithout a restrictive agreement, at the termination of her employment,
       an employee can go to work for a competitor or form a competing
       business. Even before termination, the employee can seek other work
       or prepare to compete, except that she may not use confidential
       information acquired by her from her previous employer. . . . [A]n
       employee’s involvement in forming a competitive entity, including the
       solicitation of business and the hiring of employees, prior to terminating
       her current employment relationship, is not an unfair trade practice. [An
       employee has] a right to explore alternatives to her current employment
       and to change jobs. She had no duty or obligation to disclose to [her
       employer] her intent to seek other employment.20

Therefore, “[i]t is not a breach of fiduciary duty for former employees to solicit the

clients of their former employers as long as they do so based on their memory,

experience, or personal contacts, rather than through the use of confidential




       19
               See, e.g., Cenla Physical Therapy & Rehab. Agency Inc v. Lavergne, 657 So.2d at
177 (finding genuine issue of material fact whether defendants breached fiduciary duty to employer
by copying patient lists); Huey T. Littleton Claims Service, Inc. v. McGuffee, 497 So.2d 790, 794 (La.
App. 3 Cir., 1986) (finding defendant breached his fiduciary duty by soliciting former employer's
customers and copying employer's customer list).
       20
              United Group of Nat. Paper Distributors, Inc. v. Vinson, 27,739 (La. App. 2 Cir.
01/25/96), 666 So.2d 1338, 1348, writ denied, 96-C-0714 (La. 09/27/96), 679 So.2d 1358.

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information of the former employer.”21 Thus, merely planning to compete – even

while employed – does not necessarily constitute a breach of fiduciary duty.

       “[H]istorically, an employee's breach of his fiduciary duty to his employer has

been contemplated in instances when an employee has engaged in dishonest behavior

or unfair trade practices for the purpose of his own financial or commercial

benefit. . . . Thus, the question of breach of fiduciary duty or loyalty as an employee

collapses into the question of whether the employee's actions constitute unfair trade

practices. . . .”22

D.     THE RELATIONSHIP BETWEEN A CLAIM FOR BREACH OF FIDUCIARY DUTY
       AND A CLAIM FOR UNFAIR TRADE PRACTICES

       In Louisiana jurisprudence, the issue of whether an employee has breached a

fiduciary duty owed to his employer is intertwined with the issue of whether the

employee’s actions constitute an unfair trade practice.23 More particularly, the issue


       21
                CheckPoint Fluidic Systems Intern., Ltd. v. Guccione, 888 F.Supp.2d 780, 796 (E.D.
La. 2012) (internal quotation marks omitted) (quoting Frederic v. KBK Fin., Inc., No. 00–0481, 2001
WL 30204, at *5 (E.D. La. Jan. 9, 2001).
       22
               Elliott Company v. Montgomery, No. 15-02404, 2016 WL 6301042, at *6-7 (W.D.
La. Sept. 28, 2016), report and recommendation adopted, 2016 WL 6301106 (W.D. La. Oct. 26,
2016) (quoting Restivo v. Hanger Prosthetics & Orthotics, Inc., 483 F.Supp.2d 521, 534 (E.D. La.
2007) (internal citations omitted); see, also, Harrison v. CD Consulting, Inc., 934 So.3d at 170.
       23
                See, e.g., Huey T. Littleton Claims Service, Inc. v. McGuffee, 497 So.2d at 794
(finding that solicitation of employer’s customers prior to resigning and copying employer’s
confidential customer lists were both a breach of the employee’s fiduciary duty to his employer and
a violation of LUTPA).

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of whether an employee improperly competed with his employer’s business while still

employed, as is alleged in this case, implicates both the issue of whether the employee

breached fiduciary duties owed to his employer and the issue of whether the

employee engaged in unfair trade practices. But the instant motion does not raise the

second issue. This Court finds that it would be an uneconomical use of judicial time

and effort – and therefore inappropriate – to resolve the issue of whether the

Employee Defendants breached their fiduciary duties to the plaintiffs without also

deciding whether they engaged in unfair trade practices, as these issues are so tightly

interwoven. Therefore, this Court declines the plaintiffs’ invitation to address the

alleged breach of fiduciary duty without also addressing the alleged use of unfair

trade practices. For that reason, the instant motion will be denied.



E.    THE PLAINTIFFS HAVE NOT PROVED THE ELEMENTS OF THEIR CLAIM

      One of the elements of a claim for breach of fiduciary duty is damages resulting

from the breach. The only evidence presented by the plaintiffs in support of this

element of their claim is based on findings set forth in this Court’s ruling on the

plaintiff’s motion for injunctive relief. But this Court did not decide whether a breach

of fiduciary duty occurred nor did this Court find that the plaintiffs were damaged




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 because one or more of the Employee Defendants breached any fiduciary duty they

 might have owed to the plaintiffs.

       This Court wrote, in its prior ruling: “Since September 12, 2016, Daigle has

 lost approximately 20 customers to St. Landry Gas, only one of which, D&R Welding

 Supply, was a large customer. All of these customers were on the delivery routes of

 Courville and Lanclos while they were at Daigle.”24 There are any number of reasons

 why a business might lose customers, and this Court did not attribute Daigle’s loss

 of customers to any particular cause. In the ruling, this Court also stated: “The

 current Daigle general manager credibly testified that he was contacted by several

 other Daigle customers who said that St. Landry employees had said that Daigle was

 going out of business. Some of those customers no longer do business with Daigle;

 to keep some of the others, Daigle had to lower its prices.”25 Although this Court

 found that Daigle’s general manager testified credibly, his testimony was grounded

 in hearsay and suggests that the reason Daigle lost customers was the price of its

 products. There is no finding in the prior ruling that Daigle lost any customers

 because an Employee Defendant breached a fiduciary duty, and no additional

 evidence of damage caused by a breach of fiduciary duty was submitted in support


       24
             Rec. Doc. 49 at 17.
       25
             Rec. Doc. 49 at 18.

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 of the instant motion. Consequently, the plaintiffs have not proven that they were

 damaged by a breach of fiduciary duty, and they have not established one of the

 necessary elements of their claim. Accordingly, because there is insufficient proof

 concerning an essential element of the plaintiffs' claim, the plaintiffs are not entitled

 to summary judgment with regard to their breach of fiduciary duty claim, and the

 pending motion must be denied.

                                       CONCLUSION

        For the reasons set forth above, this Court finds that it would be inappropriate

 to rule on the pending motion for partial summary judgment with regard to the

 plaintiffs’ breach of fiduciary duty claim without simultaneously addressing the

 plaintiffs’ unfair trade practices claim; additionally, this Court finds that the plaintiffs

 have not established that they sustained any damages as a result of the Employee

 Defendants’ alleged breach of fiduciary duties owed to the plaintiffs. Accordingly,

 the defendants’ motion for partial summary judgment (Rec. Doc. 65) is DENIED.

        Signed at Lafayette, Louisiana on this 15th day of September 2017.



                                           ____________________________________
                                           PATRICK J. HANNA
                                           UNITED STATES MAGISTRATE JUDGE




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